                                                                                                      Crim-Trial (/2/1)
                                                         HONORABLE: Jeffrey A. Meyer
                        DEPUTY CLERKA. Walker                   RPTR/ECRO/TAPEDiana Huntington
TOTAL TIME:        5     hours 14  minutes   USPO                     INTERPRETER
                           DATE: 4/20/2018      START TIME: 8:35 am         END TIME: 2:19 pm
                                              LUNCH RECESS FROM: 12:35 pm         TO: 1:05 PM
                                     RECESS (if more than ½ hr)   FROM:           TO:

CRIMINAL NO. 17-cr-220 (JAM)                   Deft #1


                 UNITED STATES OF AMERICA                                   Avi Perry, Robert Zink
                                                                            AUSA
                            vs
                           Andre Flotron                                   M. Mukasey, N. Muyskens, D. Filor
                                                                            Defendant’s Counsel

                                       CRIMINAL JURY/COURT TRIAL

  ........   Jury of 16       and           alternates report    Jury sworn.
  ........      Juror #                   excused     Alternates excused
  ........   Deft                        Failed to appear. Bench warrant issued.
  ........      Jury Trial held     Jury Trial continued until 4/23/2018 at 8:30am
  ........      Court Trial begun Court Trial held         Court Trial continued until
  ..#        Deft                       motion                                    granted   denied       advisement
  ..#        Deft                       motion                                    granted   denied       advisement
  ..#        Deft                       motion                                    granted   denied       advisement
  ..#        Deft                       motion                                    granted   denied       advisement
  ..#        Govt’s motion                                                        granted   denied      advisement
  ..#        Govt’s motion                                                       granted    denied      advisement
  ........   Deft                 oral motion for Judgment of Acquittal          granted     denied      advisement
  ........   Deft                 oral motion                                    granted     denied      advisement
  ........   Govt’s oral motion                                                  granted    denied      advisement
  ........   Govt’s oral motion                                                  granted    denied       advisement
  ........                                                                                               filed
  ........                                                                                               filed
  ........                                                                                               filed
  ........                                                                                               filed
  ........                                                                                               filed
  ........                                                                                               filed
  ........      Government rests Defendant                                rests
  ........      Summation held       Court’s Charge to the Jury
  ........   All full exhibits,   Indictment     Information    Verdict form handed to the Jury
  ........   Jury commences deliberations at
  ........   Court orders Jury to be fed at Govt expense (bill w/copy of minutes to)LQDQFH)
  ........   SEE      page II for additional entries
  ........   Copy to: JURY CLERK with daily juror attendance sign-in sheet
                              CRIMINAL JURY/COURT TRIAL (continued)

.........   Court declares MISTRIAL as to Defendant
.........   Jury Verdict filed
.........   Oral Verdict
.........   Court Verdict
.........      guilty as to Deft                                 as to counts
.........      guilty as to Deft                                 as to counts
.........      guilty as to Deft                                 as to counts
.........      guilty as to Deft                                 as to counts
.........      not guilty as to Deft                             as to counts
.........      not guilty as to Deft                             as to counts
.........      not guilty as to Deft                             as to counts
.........      not guilty as to Deft                             as to counts
.........   Court accepts verdict and orders verdict verified and recorded
.........   Jury polled
.........   Sentencing set                        at                as to Deft
.........   Sentencing set                        at                as to Deft
.........   Prob 246B Order for PSI & Report
.........   Bond     set for $                  Non-surety Surety PR as to Deft
.........   Bond     set for $                  Non-surety Surety PR as to Deft
.........   Bond     revoked      reinstated    continued as to Deft
.........   Bond     reduced      increased to $                 Non-surety Surety    PR as to Deft
.........   Bond     reduced      increased to $                 Non-surety Surety    PR as to Deft
.........   Deft                                         REMANDED to custody
.........   Deft                 oral motion to remain on bond pending sentencing  granted    denied   adv.
                                                   NOTES OR
                                     MISCELLANEOUS PROCEEDINGS
